                              Case 4:05-cr-00122-SBA     Document 25   Filed 08/05/05   Page 1 of 5



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                              ANNA LING, SBN 196023
                         2    506 Broadway
                              San Francisco CA 94133
                         3    Telephone: 415/986-5591

                         4    Attorneys for Defendant
                              FUTHLE NAGI
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                         8                             UNITED STATES DISTRICT COURT

                         9                        NORTHERN DISTRICT OF CALIFORNIA

                       10

                       11
                              UNITED STATES OF AMERICA,
                       12                                                    No.   CR05-00122 SBA
                                          Plaintiff,
                       13                                                    EX PARTE REQUEST FOR TRAVEL
                                    v.                                       ORDER
                       14
                              FUTHLE NAGI,
                       15
                                        Defendants.
                       16     _________________________________/

                       17           Defendant FUTHLE NAGI, by and through counsel, hereby

                       18     requests permission to travel outside the Northern District of

                       19     California between August 19, 2005 to August 21, 2005, for the

                       20     purpose of performing obligations related to his employment.

                       21           This request is based upon the declaration of counsel,

                       22     filed herewith.

                       23           Dated: August 5, 2005

                       24                                          /s/ Anna Ling
                                                                   ANNA LING
                       25                                          Attorney for Defendant
                                                                   FUTHLE NAGI
                       26

                       27
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   5 0 6 B R O A D WA Y
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                              Case 4:05-cr-00122-SBA     Document 25   Filed 08/05/05   Page 2 of 5



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                         4    Attorneys for Defendant
                              FUTHLE NAGI
                         5

                         6

                         7

                         8                             UNITED STATES DISTRICT COURT

                         9                        NORTHERN DISTRICT OF CALIFORNIA

                       10

                       11

                       12     UNITED STATES OF AMERICA,                      No.   CR05-00122 SBA

                       13                 Plaintiff,                         DECLARATION OF COUNSEL IN
                                                                             SUPPORT OF REQUEST FOR
                       14           v.                                       TRAVEL ORDER

                       15     FUTHLE NAGI,

                       16               Defendant.
                              _____________________________/
                       17

                       18           I, ANNA LING, declare:

                       19           I am an attorney licensed to practice in the State of

                       20     California and I am one of the attorneys of record for defendant

                       21     Futhle Nagi in the above-entitled matter.                 Mr. Nagi would like

                       22     to travel outside the Northern District of California between

                       23     August 19, 2005 to August 21, 2005, to Canada for the purpose of

                       24     performing obligations related to his work.               Specifically, Mr.

                       25     Nagi is employed as a technician with East Bay Glass and his

                       26     presence is required for the acceptance, purchase and training

                       27     for a new piece of equipment related to his job.                Documents from
PIER 5 LAW OFFICES
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   S A N FR A N C IS C O 28   Urban Machinery, Inc., the manufacturer of the equipment,
     (415) 986-5591
  FAX: (415) 421-1331

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                              Case 4:05-cr-00122-SBA   Document 25   Filed 08/05/05   Page 3 of 5



                         1    located in Canada, were provided to Michelle Nero of Pretrial

                         2    Services and AUSA Laurel Montoya detailing that the condition of

                         3    sale is to have the equipment physically viewed by principal and

                         4    technician.

                         5          On August 3, 2005, I spoke with Michelle Nero of Pretrial

                         6    Services, and she had no objection to Mr. Nagi's requested

                         7    travel plans.     Mr. Nagi will also fully advise pretrial services

                         8    of his itinerary, place of stay, telephone number where he can

                         9    be contacted, and any other travel related information required.

                       10           On August 4, 2005, I spoke with AUSA Laurel Montoya of the

                       11     U.S. Attorney’s Office, and she stated that she had no objection

                       12     to Mr. Nagi’s requested travel plans.

                       13           Under the circumstances, I respectfully request that this

                       14     Court grant Mr. Nagi’s permission to travel.

                       15           I declare under penalty of perjury that the foregoing is

                       16     true and correct, and that this declaration is executed on

                       17     August 5, 2005, at San Francisco, California.

                       18

                       19                                        /s/ Anna Ling
                                                                 ANNA LING
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                              Case 4:05-cr-00122-SBA     Document 25   Filed 08/05/05   Page 4 of 5



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                         8                             UNITED STATES DISTRICT COURT

                         9                        NORTHERN DISTRICT OF CALIFORNIA

                       10

                       11
                              UNITED STATES OF AMERICA,
                       12                                                    No.   CR05-00122 SBA
                                          Plaintiff,
                       13
                                    v.                                       ORDER PERMITTING TRAVEL
                       14
                              FUTHLE NAGI,
                       15
                                        Defendant.
                       16     ______________________________/

                       17           Upon the request of defendant Futhle Nagi and good cause

                       18     appearing therefor,

                       19           IT IS HEREBY ORDERED that Futhle Nagi be allowed to travel

                       20     outside the Northern District of California to Canada, between

                       21     August 19, 2005 to August 21, 2005, for the purpose of

                       22     conducting obligations related to his employment.                Mr. Nagi is

                       23     to advise pretrial services of his itinerary, place of stay,

                       24     telephone number where he can be contacted, and any other travel

                       25     related information required by pretrial services.

                       26           Dated: 8/5/05

                       27
PIER 5 LAW OFFICES                                                 U.S. District Magistrate Judge
   5 0 6 B R O A D WA Y
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     (415) 986-5591
  FAX: (415) 421-1331
                              Case 4:05-cr-00122-SBA   Document 25   Filed 08/05/05     Page 5 of 5



                         1                                 PROOF OF SERVICE

                         2          The undersigned declares:

                         3          I am a citizen of the United States.              My business address

                         4    is 506 Broadway, San Francisco, California 94133.                I am over the

                         5    age of eighteen years and not a party to the within action.

                         6          On the date set forth below, I caused a true copy of the

                         7    within

                         8          EX PARTE REQUEST FOR TRAVEL ORDER, DECLARATION IN SUPPORT
                                    THEREOF, PROPOSED ORDER
                         9
                              to be served on the following parties in the following manner:
                       10     E-Mail _X_ Overnight mail ___    Personal service ___    Fax _X_

                       11           Laurel J. Montoya
                                    Assistant U.S. Attorney
                       12           Federal Building Room 3654
                                    1130 “O” Street
                       13           Fresno, CA 93721

                       14           Robert J. Beles
                                    One Kaiser Plaza #2300
                       15           Oakland, CA 94612

                       16           David Balakian
                                    455 W Shaw Ave
                       17           Fresno, CA 93704

                       18           Michelle Nero                                       Fax 510/637-3754
                                    Pre-Trial Services
                       19           U.S. District Court
                                    1301 Clay Street, Rm 100C
                       20           Oakland, CA 94612

                       21           I declare under penalty of perjury that the foregoing is

                       22     true and correct, and that this declaration is executed on

                       23     August 5, 2005, at San Francisco, California.

                       24

                       25                                        /s/ Anna Ling
                                                                 ANNA LING
                       26

                       27
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